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Deposition of Undersheriff John Holloway                                              Jenna Clark v. Carmine Marceno


   1                                UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
   2

   3      JENNA CLARK,

   4                Plaintiff,                                    22-002723-CI

   5      vs.

   6      CARMINE MARCENO, in his
          official capacity as Sheriff of Lee
   7      County, Florida,

   8                  Defendant.

   9      ______________________________________________________

 10       DEPOSITION OF:             UNDERSHERIFF JOHN HOLLOWAY

 11       DATE TAKEN:                October 10, 2023

 12       TIME:                      1:10 p.m. - 1:37 p.m.

 13       PLACE:                     Everyone appeared remotely
                                     via Zoom
 14
          REPORTED BY:               MELISSA FERNANDEZ
 15                                  Court Stenographer

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Deposition of Undersheriff John Holloway                                              Jenna Clark v. Carmine Marceno


   1      APPEARANCES:

   2             KYLE T. MACDONALD, ESQUIRE
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   6
                 APPEARED ON BEHALF OF THE PLAINTIFF
   7
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 11              (Appeared via Zoom)

 12              APPEARED ON BEHALF OF THE DEFENDANT

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Deposition of Undersheriff John Holloway                                                       Jenna Clark v. Carmine Marceno


   1      TESTIMONY OF UNDERSHERIFF JOHN HOLLOWAY

   2             Direct Examination by Mr. MacDonald                                       4

   3      CERTIFICATE OF OATH                                                          17

   4      CERTIFICATE OF REPORTER                                                      18

   5      ERRATA SHEET                                                                 19

   6      READ & SIGN COVER PAGE                                                        20

   7                                                 - - - -

   8                                       S T I P U L A T I O N S

   9      It is hereby agreed and so stipulated by and between

 10       the parties hereto, through their respective counsel,

 11       that the reading and signing of the transcript is

 12       expressly reserved by the Deponent.

 13                                                 - - - - -

 14                                             E X H I B I T S

 15       Plaintiff's Exhibit 8
               Defendant's Bates label 565 and 566                                    12
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Deposition of Undersheriff John Holloway                                               Jenna Clark v. Carmine Marceno


   1             The deposition of UNDERSHERIFF JOHN HOLLOWAY, was taken pursuant to

   2      notice by counsel for the Plaintiff on the 10th day of October,

   3      2023, commencing at 1:10 p.m.                    Said deposition was reported by

   4      Melissa Fernandez, Court Reporter, Notary Public, State of

   5      Florida at Large.

   6                                             *   *     *     *   *

   7                                   UNDERSHERIFF JOHN HOLLOWAY,

   8         having been duly sworn, was examined and testified upon his

   9                                          oath as follows:

 10                              THE WITNESS:            I do.

 11                                          DIRECT EXAMINATION

 12       BY MR. MACDONALD:

 13              Q       Good afternoon, Mr. Holloway.                   Do you understand that

 14       you've been placed under oath and you have an obligation to

 15       testify truthfully today?

 16              A       Yes, sir.

 17              Q       And do you understand that even though we are

 18       conducting this deposition via Zoom your testimony has the same

 19       force and effect as if you were testifying before a judge and

 20       jury?

 21              A       Yes.

 22              Q       Is there anything that would prevent you from

 23       thinking clearly and testifying truthfully today?

 24              A       No.

 25              Q       Where do you currently work?


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Deposition of Undersheriff John Holloway                                                    Jenna Clark v. Carmine Marceno


   1             A       At the Lee County Sheriff's Office in Fort Myers,

   2      Florida.

   3             Q       And what is your position with the Lee County

   4      Sheriff's Office?

   5             A       I'm the Undersheriff.

   6             Q       And what do you do in your role as Undersheriff?

   7             A       I'm responsible for day-to-day operations, budgeting,

   8      planning, generally all aspects of the agency.                          Everyone, I

   9      think, but two people in the agency report directly to me or

 10       report to me through the chain of command, and I report to the

 11       Sheriff and impliment his goals and mission.

 12              Q       And how long have you been Undersheriff for?

 13              A       Approximately since '22, I think, 2022.                        That seems

 14       to be the number that sticks in my head.                        Before then I was

 15       Chief of Operations or Legal and operations and at some point I

 16       transitioned into this role.                  I think it was either in late '21

 17       or early '22.

 18              Q       And how long were you Chief of Legal and Operations

 19       for?

 20              A       I joined the agency in November of 2013 so

 21       approximately seven to eight years.

 22              Q       And I apologize.            I joined as the Chief of Legal

 23       Services.       They added Operations at some point.                        And then in

 24       late '21 or '22 I moved over to the Undersheriff spot.                             I

 25       apologize.


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Deposition of Undersheriff John Holloway                                              Jenna Clark v. Carmine Marceno


   1             Q       Do you supervise any employees as Undersheriff?

   2             A       Yes, sir, I supervise directly or indirectly everyone

   3      in the agency except for Major Laylor and Major Heuglin who

   4      report directly to the Sheriff.                     All the command staff reports

   5      to me.

   6             Q       Are you familiar with my client, Jenna Clark?

   7             A       Yes, sir.

   8             Q       When did you first meet Jenna Clark?

   9             A       I believe it would have been in November of 2013 when

 10       I came to the agency.               I'm sure that back then I requested

 11       supplies and equipment from her and would have met her then.

 12              Q       Do you recall what her position was when you met her?

 13              A       I know she was in Purchasing.                  What her title was, I

 14       don't recall or don't believe I knew back then.

 15              Q       Did Jenna Clark ever hold the title of Director of

 16       Purchasing?

 17              A       Yes, sir.

 18              Q       And what did Ms. Clark do as the Director of

 19       Purchasing for the Lee County Sheriff's Office?

 20              A       She oversaw the Purchasing Department and the

 21       employees that worked in the Purchasing Department.

 22              Q       Who did Ms. Clark report to as Director of

 23       Purchasing?

 24              A       My memory is she reported to Annmarie Reno.                  There

 25       may have been times when she reported to someone else, but


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   1      that's my last memory was for some time she reported to

   2      Annmarie.

   3             Q       And what is Annmarie Reno's title at the Lee County

   4      Sheriff's Office?

   5             A       I don't recall.            I don't recall what her official

   6      title was.        She had been part of the DROP program and when the

   7      governor changed the DROP program she stayed and I don't

   8      recall.      She now reports to Matt Sands who is the Director --

   9      I'm sorry, he's the Chief of Support Services for the entire

 10       agency.      So I never had any need to find out what she does or

 11       what her title is.               I apologize.

 12              Q       And you said the DROP program, D-R-O-P?

 13              A       Yes, the Deferred Retirement Option Program, or

 14       something like that, where if you enter into DROP your pension

 15       payments are made into an escrow account on your behalf.                        But

 16       it used to be you had to retire within five years of entering

 17       DROP and recently the governor changed that to give everyone

 18       eight years.         So those people who were scheduled to retire

 19       because DROP required they retire are now able to continue

 20       their employment for an additional three years.

 21              Q       Were you familiar with Jenna Clark's job performance

 22       while she was at the Lee County Sheriff's Office?

 23              A       To a degree.

 24              Q       How would you describe Jenna Clark's job performance

 25       at the Lee County Sheriff's Office?


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   1             A       Generally -- generally acceptable with problematical

   2      moments.

   3             Q       What moments would those be?

   4             A       Things like personality clashes.                   People would

   5      complain about having unpleasant discussions with her.                         People

   6      indicated she was not cooperative.                     She would occassionally be

   7      verbally challenging.               I never thought that raised to the level

   8      of anything -- those personality clashes aren't something I get

   9      too invested in.           I think generally that's -- she was doing the

 10       job.

 11              Q       Who reported having personality clashes with Jenna

 12       Clark?

 13              A       I believe -- I believe Annmarie told me on some

 14       occasions of complaints she was fielding.                        Nobody came to me to

 15       discuss their problems with Jenna.                     Mainly, I guess, I just

 16       don't have those kind of conversations with people.                         But,

 17       again, I never saw it as something that was earth-shattering.

 18              Q       What did Annmarie Reno share with you regarding the

 19       personality clashes with Ms. Clark?

 20              A       Just that people had expressed concern that in their

 21       conversations with Jenna she was short, she was abrasive.                          She

 22       would be difficult, challenging.                    How serious or minor those

 23       are, I never really got into, because 1,600, 1,700 people are

 24       occasionally going to encounter each other in circumstances

 25       that aren't always incredibly pleasant, and so I don't believe


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   1      I ever pursued any of those discussions.

   2             Q       Did Annmarie Reno tell you who specifically

   3      Ms. Clark had personality clashes with?

   4             A       I'm sure she did, but I wouldn't recall.

   5             Q       Did Annmaarie ever have personality clashes with

   6      Ms. Clark?

   7             A       I don't think so.             Annmarie is an incredibly patient

   8      person.      Any issue she had with Jenna were more performance

   9      related.

 10              Q       What issues did Annmarie Reno have with Jenna Clark's

 11       job performance?

 12              A       On the few occasions I would be -- she would tell me

 13       that she's having to go down and assure that Jenna was doing

 14       what Annmarie had asked Jenna to do because it hadn't gotten

 15       done, that there were things that Jenna had promised to do but

 16       hadn't done them, and there were things that should have been

 17       ordered and obtained that hadn't been ordered and obtained.

 18       The usual -- I don't want to say usual.                       I don't know how to

 19       say this.       That's what management is, dealing with issues,

 20       concerns, and problems.

 21              Q       Did any of these performance issues result in Jenna

 22       Clark being disciplined as far as you're aware?

 23              A       Not as far as I'm aware.                I don't know.

 24              Q       Did Annmarie Reno ever discuss disciplining

 25       Ms. Clark with you?


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   1             A       I believe on at least one occasion or two occasions

   2      she would ask for my input and I told Annmarie, just do what

   3      you think is appropriate, I have great faith in you.                             If you

   4      feel you need to do something in writing, do it; if you think

   5      you can handle it verbally, handle it verbally.                             I'm just an

   6      end-result person.               I would not tell Annmarie how to manage.

   7             Q       Do you recall what specifically those instances were

   8      about, where Annmarie Reno discussed possible discipline?

   9             A       The only one that comes to mind without great

 10       specificity, there were -- I think there were a bunch of --

 11       something in Purchasing that we had tried to get rid of.                              I

 12       think there might have been shoes.                     At one point in time our

 13       agency was issuing, I want to say 1,400 pair of boots, and it

 14       seem to me to be somewhat nonsensical.                       So what we did was

 15       instead of stocking inventory, auditing, invoicing, and paying

 16       for 1,400 pairs of boots, we raised -- everybody who got free

 17       boots we just a raised their salary a hundred dollars.                             And

 18       then I think there was some delay in getting rid of the boots

 19       that were cramming the shelves in Purchasing.                          I think that's

 20       what it was.         And my comment to Annmarie was, just take

 21       whatever action you think is appropriate.

 22              Q       Do you recall when Jenna Clark left the Lee County

 23       Sheriff's Office?

 24              A       Not specifically.

 25              Q       Did you ever discuss Jenna Clark's departure from the


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   1      Lee County Sheriff's Office with Annmarie Reno?

   2             A       I'm sure I did because she reported to Annmarie and

   3      Annmarie would have had input with me on whether my decision

   4      was reasonable or not and making sure that the management that

   5      remained was capable of absorbing whatever tasks that Jenna

   6      previously performed.               So I'm sure I discussed it with her.

   7             Q       Do you recall what Annmarie Reno said when you spoke

   8      with her regarding Jenna Clark's departure from the Lee County

   9      Sheriff's Office?

 10              A       My recollection was that she supported that decision

 11       and that it would not create hardship in the department.

 12              Q       Did your conversation with Annmarie Reno regarding

 13       Jenna Clark influence your decision to eliminate her position?

 14                      MR. STEFANY:           Which discussion, Counsel?

 15                      MR. MACDONALD:           Sorry, what was that?

 16                      MR. STEFANY:           Which discussion?

 17                      MR. MACDONALD:           Let me rephrase.

 18       BY MR. MACDONALD:

 19              Q       Did your discussion with Annmarie Reno regarding

 20       Jenna Clark's departure impact your decision to eliminate

 21       Jenna's Clark position at the Lee County Sheriff's Office?

 22              A       To some extent I'm sure it did.                   If Annmarie had

 23       voiced great hesitation, restraint, or concern, I would

 24       remember that.

 25              Q       Did Jenna Clark's job performance have anything to do


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   1      with her position being eliminated with the Lee County

   2      Sheriff's Office?

   3                     MR. STEFANY:           Objection as to form.            Asked and

   4             answered.        You may answer it.

   5             A       Not in my decision-making process, because, again, I

   6      was looking at position, not people.                      I hate to say it that

   7      way.     It makes me sound like I'm a mechanical robut, but that's

   8      my job, to look at positions, not the people in them.

   9      BY MR. MACDONALD:

 10              Q       I'm going to show you a document.

 11                      MR. MACDONALD:           We'll mark this as Plaintiff's

 12              Exhibit 8 and it's Defendant's Bates label 565 and 566.

 13                      (Whereupon, Plaintiff's Exhibit 8 was marked for

 14              identification.)

 15       BY MR. MACDONALD:

 16              Q       I'll give you a moment to review.

 17              A       I've read that, sir.              I've read that, sir.

 18              Q       Do you recognize this document?

 19              A       Yes, sir.         That's an e-mail to me from Annmarie Reno

 20       about Purchasing director, Jenna Clark.

 21              Q       Do you recall why Annmarie Reno sent this e-mail to

 22       you?

 23              A       No.

 24              Q       Do you recall the circumstances of this e-mail from

 25       Annmarie Reno at all?


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   1             A       No.     It's consistent with the concerns that

   2      occasionally Annmarie would mention to me or voice about

   3      Annmarie -- I'm sorry, about Jenna.                     She apparently elected to

   4      put them into writing and send them to me.

   5             Q       Do you see on the second page where it says that

   6      Director Clark clearly defied my directive to have all the old

   7      items removed from LCSO inventory as instructed and showed

   8      total insubordination towards me as her direct supervisor?

   9             A       Yes, sir.

 10              Q       Is this the first time that Annmarie Reno documented

 11       an issue with Ms. Clark to you?

 12              A       I don't recall.

 13              Q       Has Annmarie Reno ever sent you a message like this

 14       regarding another employee?

 15                      MR. STEFANY:           Objection as to form.            You may answer.

 16              A       Possibly.         Because of her area of responsibility she

 17       may have.

 18       BY MR. MACDONALD:

 19              Q       Do you specifically recall Annmarie Reno ever sending

 20       you a message like this about another employee?

 21                      MR. STEFANY:           Same objection.         You may answer.

 22              A       As we sit here today, I go through hundreds and

 23       thousands of e-mails, whether or not she sent me one or not I

 24       couldn't say.          I don't recall if she did or did not.

 25       BY MR. MACDONALD:


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   1             Q       And do you see the date that this e-mail message was

   2      sent to you?

   3             A       Yes, sir.

   4             Q       And what is that date?

   5             A       August 19th, 2021.

   6             Q       Do you recall when Jenna Clark was notified that her

   7      position was being eliminated from the Lee County Sheriff's

   8      Office?

   9             A       I do not, sir.

 10              Q       Are you aware that the letter sent to Jenna Clark

 11       notifying her of her position being eliminated was dated August

 12       15th, 2021?

 13              A       Now that you've refreshed my recollection I believe

 14       that's the date on that letter you showed me, sir.

 15              Q       Do you know why Annmarie Reno sent you this e-mail

 16       four days after the letter was dated notifying Ms. Clark of her

 17       termination?

 18              A       No, sir.

 19              Q       Do you know why Annmarie Reno sent this e-mail four

 20       days after August 15th, 2021?

 21              A       No, sir.          As we sit here today I don't know.          I may

 22       have known at the time, but I don't recall now if I knew then.

 23              Q       Did you ever discuss Jenna Clark's position being

 24       eliminated with Annmarie Reno prior to August 19th, 2021?

 25              A       I'm sure I did.


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   1             Q       Do you believe that Ms. Clark's position being

   2      eliminated had anything to do with this e-mail being sent by

   3      Annmarie Reno?

   4             A       I don't know.

   5             Q       Did you ever discuss this e-mail with Annmarie Reno

   6      after it was sent?

   7             A       I probably did.            I don't recall.         I get -- that

   8      e-mail looks to me to be maybe I was giving Annmarie some

   9      trouble at the time about making sure that Purchasing was

 10       operating effectively and efficiently and maybe that was her

 11       explaining to me why some of the things I had noted needed to

 12       be done were done.

 13              Q       And none of these issues raised by Annmarie Reno had

 14       any impact on your decision to eliminate Jenna Clark's

 15       position, correct?

 16              A       That's correct.

 17              Q       Would you agree with Annmarie Reno's characterization

 18       of Jenna Clark as insubordinant at any point during her

 19       employment with the Lee County Sheriff's Office?

 20                      MR. STEFANY:           Objection as to form.            You may answer.

 21              A       I think not having been there Annmarie would be in

 22       the best position to identify whether that conduct was

 23       insubordinant or not.               I usually require my managers to take

 24       action and I'm not going to manage for them.                         If they think

 25       there's a problem, they need to fix it.


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   1      BY MR. MACDONALD:

   2             Q       But in your personal opinion did you ever believe

   3      that Jenna Clark was insubordinant during her employment at the

   4      Lee County Sheriff's Office.

   5                     MR. STEFANY:           Objection as to form.            You may answer.

   6             A       I don't have enough personal knowledge to make that

   7      determination.

   8                     MR. MACDONALD:           All right.        That is all the questions

   9             I have for you today, Mr. Holloway.                      Thank you very much

 10              for your time.            Mr. Stefany may have some questions for

 11              you.

 12                      MR. STEFANY:           I have no questions of this witness.

 13              Undersheriff, you have the right to read a transcript of

 14              this desposition if one is made or you can waive reading.

 15              It's up to you.             The court reporter needs to know what you

 16              prefer.

 17                      THE WITNESS:           If a transcript is made I'd like to

 18              read.      If one isn't made, I'm not asking for one.

 19                      MR. STEFANY:           Fair enough.

 20                      (At 1:37 p.m., no further questions were propounded

 21              to this witness.)

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Deposition of Undersheriff John Holloway                                              Jenna Clark v. Carmine Marceno


   1                              CERTIFICATE OF OATH

   2      STATE OF FLORIDA

   3      COUNTY OF HILLSBOROUGH

   4             I, the undersigned authority, certify that UNDERSHERIFF

   5      JOHN HOLLOWAY remotely appeared before me and was duly sworn.

   6             WITNESS my hand and official seal this 10th day of

   7      October, 2023.

   8

   9

 10                              _______________________________
                                 MELISSA FERNANDEZ
 11                              Notary Public - State of Florida
                                 Commission No.: HH 278990
 12                              My Commission Expires: 6/21/2026

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   1                             REPORTER'S DEPOSITION CERTIFICATE

   2      STATE OF FLORIDA

   3      COUNTY OF HILLSBOROUGH

   4             I, MELISSA FERNANDEZ, Court Reporter, certify

   5      that I was authorized to and did stenographically report

   6      the foregoing deposition, and that the transcript is

   7      a true record of the stenographic notes.

   8             I further certify that I am not a relative,

   9      employee, attorney, or counsel of any of the parties,

 10       nor am I a relative or employee of any of the parties'

 11       attorney or counsel connected with the action, nor am

 12       I financially interested in the action.

 13              Dated this 26th day of December, 2023.

 14

 15

 16                                        ______________________________
                                           MELISSA FERNANDEZ
 17                                        Court Stenographer

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Deposition of Undersheriff John Holloway                                                  Jenna Clark v. Carmine Marceno


   1                     DO NOT WRITE ON TRANSCRIPT - ENTER CHANGES

   2      IN THE CASE OF:           JENNA CLARK v. CARMINE MARCENO, in his
                                    official capacity as Sheriff of Lee County,
   3                                Florida

   4      DEPOSITION OF:          UNDERSHERIFF JOHN HOLLOWAY                DATE:     10/10/2023

   5      PLEASE READ THE TRANSCRIPT OF YOUR DEPOSITION. If YOU FEEL YOU
          NEED TO MAKE CORRECTIONS, PLEASE NOTE ON THIS PAGE. DO NOT
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 19
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 20                             (Melissa Fernandez)

 21       PLEASE DISTRIBUTE TO:               Kyle T. MacDonald, Esquire
                                              kyle@dereksmithlaw.com
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Deposition of Undersheriff John Holloway                                              Jenna Clark v. Carmine Marceno


   1      December 26, 2023

   2      JOHN HOLLOWAY
          Allen, Norton & Blue
   3      dstefany@anblaw.com
          Suite 225
   4      324 South Hyde Park Avenue
          Tampa, Florida 33606
   5
          RE:    JENNA CLARK v. CARMINE MARCENO, in his official capacity
   6             as Sheriff of Lee County, Florida

   7      Dear Mr. Stefany:

   8      The deposition of UNDERSHERIFF JOHN HOLLOWAY taken on the 10th day of
          October, 2023, in the above-styled case has been transcribed.
   9      Please follow the Options below coinciding with your transcript
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 12       complete, please promptly (within 30 days) send a copy of the
          signed errata sheet to opposing counsel, Mr. MacDonald.
 13
          OPTION 2: If you have NOT ordered a transcript copy, please
 14       notify your client that a copy of said transcript, along with
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 15       office locations for him/her to Read & Sign and note any
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 18       thirty (30) business days.

 19       Thank you,

 20

 21       _________________________________
          Melissa Fernandez, Court Reporter
 22
          cc:    Kyle T. MacDonald, Esquire
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                                 566 (2)                        attached (2)            command (2)
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 1 (1)                           <6>                            auditing (1)            comment (1)
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 18 (1)                          <A>                            best (1)                conversations (2)
 19 (1)                          able (1)                       Blue (2)                cooperative (1)
 19th (2)                        above-styled (1)               boots (4)               copy (6)
                                 abrasive (1)                   Brickell (1)            correct (2)
 <2>                             absorbing (1)                  budgeting (1)           CORRECTIONS (2)
 2 (1)                           acceptable (1)                 bunch (1)               corrections/changes
 20 (1)                          account (1)                    business (2)             (1)
 2013 (2)                        accuracy (1)                                           counsel (6)
 2021 (4)                        action (4)                     <C>                     County (19)
 2022 (1)                        added (1)                      CALL (2)                COURT (7)
 2023 (6)                        additional (1)                 capable (1)             COVER (4)
 21 (2)                          afternoon (1)                  capacity (3)            cramming (1)
 215 (1)                         agency (7)                     CARMINE (3)             create (1)
 22 (3)                          agree (1)                      CASE (2)                currently (1)
 22-002723-CI (1)                agreed (1)                     cc (1)
 225 (2)                         Allen (2)                      CERTIFICATE (4)         <D>
 251-1210 (1)                    AMENDMENT (1)                  certify (3)             DATE (7)
 26 (1)                          amendments (1)                 chain (1)               dated (3)
 26th (1)                        Annmaarie (1)                  challenging (2)         DAVID (1)
 278990 (1)                      Annmarie (38)                  changed (2)             day (4)
                                 answer (5)                     CHANGES (1)             days (4)
 <3>                             answered (1)                   changes/corrections     day-to-day (1)
 30 (2)                          apologize (3)                   (1)                    dealing (1)
 305 (1)                         apparently (1)                 characterization (1)    Dear (1)
 324 (2)                         APPEARANCES (1)                Chief (4)               December (2)
 33131 (1)                       appeared (6)                   choice (1)              decision (5)
 33606 (2)                       APPOINTMENT (2)                circumstances (2)       decision-making (1)
 341-3616 (1)                    appropriate (2)                CLARK (25)              Defendant (2)
                                 Approximately (2)              Clark's (10)            Defendant's (2)
 <4>                             area (1)                       clashes (6)             Deferred (1)
 4 (1)                           asked (2)                      clearly (2)             defied (1)
                                 asking (1)                     client (5)              degree (1)
 <5>                             aspects (1)                    coinciding (1)          delay (1)


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 Department (3)                  employment (3)                 giving (1)             invoicing (1)
 departure (3)                   encounter (1)                  go (2)                 issue (2)
 Deponent (2)                    end-result (1)                 goals (1)              issues (4)
 DEPOSITION (9)                  enter (2)                      going (3)              issuing (1)
 Derek (1)                       entering (1)                   Good (1)               items (1)
 describe (1)                    entire (1)                     gotten (1)
 desposition (1)                 equipment (1)                  governor (2)           <J>
 determination (1)               ERRATA (5)                     great (3)              JENNA (32)
 difficult (1)                   ERROR (1)                      Group (1)              Jenna's (1)
 Direct (3)                      escrow (1)                     guess (1)              job (6)
 DIRECTED (1)                    ESQUIRE (4)                                           JOHN (8)
 directive (1)                   everybody (1)                  <H>                    joined (2)
 directly (3)                    Examination (2)                hand (1)               judge (1)
 Director (6)                    examined (1)                   handle (2)             jury (1)
 discipline (1)                  Exhibit (3)                    hardship (1)
 disciplined (1)                 Expires (1)                    hate (1)               <K>
 disciplining (1)                explaining (1)                 head (1)               kind (1)
 discuss (5)                     expressed (1)                  hereto (1)             knew (2)
 discussed (2)                   expressly (1)                  hesitation (1)         know (8)
 discussion (3)                  extent (1)                     Heuglin (1)            knowledge (1)
 discussions (2)                                                HH (1)                 known (1)
 DISTRIBUTE (1)                  <F>                            HILLSBOROUGH           KYLE (3)
 DISTRICT (2)                    Fair (1)                       (2)                    kyle@dereksmithlaw.c
 document (2)                    faith (1)                      him/her (1)            om (2)
 documented (1)                  familiar (2)                   hold (1)
 doing (2)                       far (2)                        HOLLOWAY (10)          <L>
 dollars (1)                     feel (2)                       hours (1)              label (2)
 DROP (6)                        FERNANDEZ (7)                  hundred (1)            Large (1)
 D-R-O-P (1)                     fielding (1)                   hundreds (1)           late (2)
                                 financially (1)                Hyde (2)               Law (1)
 dstefany@anblaw.com             find (1)                                              Laylor (1)
 (2)                             first (2)                      <I>                    LCSO (1)
 duly (2)                        five (1)                       identification (1)     Lee (17)
                                 fix (1)                        identify (1)           left (1)
 <E>                             FLORIDA (12)                   impact (2)             Legal (3)
 early (1)                       follow (1)                     impliment (1)          letter (3)
 earth-shattering (1)            follows (1)                    incredibly (2)         level (1)
 effect (1)                      force (1)                      indicated (2)          LINE (1)
 effectively (1)                 foregoing (2)                  indirectly (1)         locations (1)
 efficiently (1)                 form (4)                       influence (1)          long (2)
 eight (2)                       Fort (1)                       input (2)              look (1)
 either (1)                      four (2)                       instances (1)          looking (1)
 elected (1)                     free (1)                       instruct (1)           looks (1)
 eliminate (3)                   further (2)                    instructed (1)
 eliminated (5)                                                 insubordinant (3)      <M>
 e-mail (9)                      <G>                            insubordination (1)    MACDONALD (16)
 e-mails (1)                     generally (4)                  interested (1)         Major (2)
 employee (4)                    getting (1)                    inventory (2)          making (2)
 employees (2)                   give (2)                       invested (1)           manage (2)


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 management (2)                  occasions (3)                  prefer (1)             requested (1)
 managers (1)                    occassionally (1)              prevent (1)            require (1)
 MARCENO (3)                     October (4)                    previously (1)         required (1)
 mark (2)                        Office (16)                    prior (1)              reserved (1)
 marked (1)                      official (5)                   probably (1)           respective (1)
 Matt (1)                        old (1)                        problem (1)            responsibility (1)
 mechanical (1)                  operating (1)                  problematical (1)      responsible (1)
 meet (1)                        operations (5)                 problems (2)           restraint (1)
 MELISSA (7)                     opinion (1)                    process (1)            result (1)
 memory (2)                      opposing (1)                   program (4)            retire (3)
 mention (1)                     Option (3)                     promised (1)           Retirement (1)
 message (3)                     Options (1)                    promptly (1)           RETURN (1)
 met (2)                         ordered (4)                    propounded (1)         review (1)
 Miami (1)                       original (2)                   Public (2)             rid (2)
 MIDDLE (1)                      oversaw (1)                    Purchasing (10)        right (2)
 mind (1)                                                       purposes (1)           robut (1)
 minor (1)                       <P>                            pursuant (1)           role (2)
 mission (1)                     p.m (4)                        pursued (1)
 moment (1)                      PA (1)                         put (1)                <S>
 moments (2)                     PAGE (7)                                              salary (1)
 moved (1)                       pages (1)                      <Q>                    Sands (1)
 Myers (1)                       pair (1)                       questions (4)          saw (1)
                                 pairs (1)                                             says (1)
 <N>                             Park (2)                       <R>                    scheduled (1)
 need (4)                        part (1)                       raised (4)             seal (1)
 needed (1)                      parties (3)                    READ (9)               second (1)
 needs (1)                       patient (1)                    reading (3)            see (2)
 never (4)                       paying (1)                     really (1)             send (2)
 nonsensical (1)                 payments (1)                   reasonable (1)         sending (1)
 normal (1)                      pension (1)                    recall (17)            sent (9)
 Norton (2)                      people (9)                     recognize (1)          serious (1)
 Notary (2)                      performance (6)                recollection (2)       Services (2)
 NOTE (4)                        performed (1)                  record (1)             seven (1)
 noted (1)                       person (2)                     refreshed (1)          share (1)
 notes (1)                       personal (2)                   regarding (5)          SHEET (6)
 notice (1)                      personality (6)                related (1)            shelves (1)
 notified (1)                    PLACE (1)                      relative (2)           Sheriff (5)
 notify (1)                      placed (1)                     remained (1)           Sheriff's (14)
 notifying (2)                   Plaintiff (3)                  remember (1)           shoes (1)
 November (2)                    Plaintiff's (3)                remotely (2)           short (1)
 number (1)                      planning (1)                   removed (1)            show (1)
                                 pleasant (1)                   Reno (22)              showed (2)
 <O>                             PLEASE (9)                     Reno's (2)             SIGN (4)
 OATH (4)                        PLLC (1)                       rephrase (1)           SIGNATURE (1)
 Objection (5)                   point (4)                      report (6)             signed (1)
 obligation (1)                  position (12)                  REPORTED (7)           signing (1)
 obtained (2)                    positions (1)                  REPORTER (5)           sir (13)
 occasion (1)                    possible (1)                   REPORTER'S (1)         sit (2)
 occasionally (2)                Possibly (1)                   reports (2)            Smith (1)


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 somewhat (1)                    times (1)
 sorry (3)                       title (5)
 sound (1)                       today (5)
 South (2)                       told (2)
 specifically (4)                total (1)
 specificity (1)                 transcribed (1)
 spoke (1)                       transcript (13)
 spot (1)                        transitioned (1)
 staff (1)                       tried (1)
 State (4)                       trouble (1)
 STATES (1)                      true (1)
 stayed (1)                      truthfully (2)
 STEFANY (12)                    two (2)
 Stenographer (2)
 stenographic (1)                <U>
 stenographically (1)            UNDERSHERIFF
 sticks (1)                      (13)
 stipulated (1)                  undersigned (1)
 stocking (1)                    understand (2)
 subscribe (1)                   UNITED (1)
 Suite (3)                       unpleasant (1)
 supervise (2)                   use (1)
 supervisor (1)                  usual (2)
 supplies (1)                    usually (1)
 Support (1)
 supported (1)                   <V>
 sure (8)                        verbally (3)
 sworn (2)                       voice (1)
                                 voiced (1)
 <T>                             vs (1)
 take (2)
 TAKEN (3)                       <W>
 Tampa (2)                       waive (1)
 tasks (1)                       want (2)
 tell (3)                        way (1)
 termination (1)                 WITNESS (5)
 testified (1)                   work (1)
 testify (1)                     worked (1)
 testifying (2)                  WRITE (1)
 TESTIMONY (2)                   writing (2)
 Thank (2)
 Things (4)                      <Y>
 think (14)                      years (4)
 thinking (1)
 thirty (1)                      <Z>
 thought (1)                     Zoom (4)
 thousands (1)
 three (1)
 TIME (7)


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                                                                  LCSO/ Clark
                                                                   DEF000565
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                                                                  LCSO/ Clark
                                                                   DEF000566
